     Case 3:18-cr-00024-JHM Document 1 Filed 03/21/18 Page 1 of 6 PageID #: 1




                           UNITED STATES DISTRICT COURT
                                                                         VANEsfU-JiP.c~l'­
                           WESTERN DISTRICT OF KENTUCKY                         MAR 21 Z018
                                   AT LOUISVILLE                             U.S. DISTRICT COURT
                                                                           WEsrN. DIST. KENTUCKY
UNITED STATES OF AMERICA

                                                                  INDICTMENT
v.
                                                           No.     3·,18-cr-a4-J Hrn
                                                                  18 U.S.C. § 98l(a)(l)(C)
BRYANT. LOCKE                                                     18 U.S.C. § 1343
                                                                  28 U.S.C. § 2461




The Grand Jury charges:

                                         COUNTS 1-3
                                         (Wire Fraud)

        1.    In or around January 2013 , the exact date being unknown, to on or about February

22, 2017, in the Western District of Kentucky, Jefferson County, Kentucky, and elsewhere, the

defendant, BRYANT. LOCKE, devised and intended to devise a scheme to defraud an insurance

company ("the company") and to obtain property belonging to the company by means of materially

false and fraudulent pretenses and promises, knowing that such pretenses and promises were false

when made, and for the purpose of executing said scheme, did knowingly transmit and cause to be

transmitted wire communications in interstate commerce. The following paragraphs set forth the

scheme to defraud.

        2.    From on or about August 1, 2007, through on or about February 22, 2017, BRYAN

T. LOCKE was employed as the Chief Financial Officer at the company. As Chief Financial

Officer, BRYAN T. LOCKE had access to and/or control over bank and credit card accounts,
   Case 3:18-cr-00024-JHM Document 1 Filed 03/21/18 Page 2 of 6 PageID #: 2




payroll, and approval of expenses reports, such as payments on credit card statements. As part of

his scheme to defraud, BRYAN T. LOCKE exceeded his authority by charging personal expenses

to his company-issued American Express credit card and approving company payment of the

expenses.   As further part of his scheme to defraud, BRYAN T. LOCKE opened up an

unauthorized corporate Chase Bank credit card in the name of the company, and used it for

personal expenses, that were then paid for by the company. As further part of his scheme to

defraud, in or around February 2017, BRYANT. LOCKE instructed the company's payroll

processor to issue him an unauthorized $60,000 bonus.

       3.      On or about the following dates, in the Western District of Kentucky and elsewhere,

for the purpose of executing and attempting to execute the above-described scheme to defraud,

BRYAN T. LOCKE did knowingly transmit and cause to be transmitted, by means of wire in

interstate commerce, writings, signs, signals, pictures, or sounds, as described in the chart below.

 COUNT NO.             DATE                           DESCRIPTION OF WIRE

       1           on or about        BRYANT. LOCKE knowingly caused $11,891.73 to be
                  March 24, 2015      transferred a P C bank account ending in 6712, which
                                      generated an interstate wire transaction from the Western
                                      District of Kentucky to servers outside Kentucky
       2            on or about       BRYANT. LOCKE knowingly caused $5 ,207.74 to be
                   September 23,      transferred a PNC bank account ending in 6712, which
                       2015           generated an interstate wire transaction from the Western
                                      District of Kentucky to servers outside Kentucky
       3            on or about       BRYANT. LOCKE did knowingly withdraw $84,254.40
                    February 16,      in the form of a cashier's check from a PNC bank location
                       2017           in Jefferson County, Kentucky, which generated an
                                      interstate wire communication from the Western District
                                      of Kentucky to servers outside Kentucky


       In violation of Title 18, United States Code, Section 1343.




                                                 2
   Case 3:18-cr-00024-JHM Document 1 Filed 03/21/18 Page 3 of 6 PageID #: 3




                                    NOTICE OF FORFEITURE

        4.      If convicted of a violation of Title 18, United States Code, Section 1343, as

alleged in Counts 1through3 of this Indictment, the defendant, BRYANT. LOCKE, shall

forfeit any property, real or personal, which constitutes or is derived from proceeds traceable

(directly or indirectly) to such violation.

        Pursuant to Title 18, United States Code, Section 981(a)(l)(C), and Title 28, United

States Code, Section 2461.




                                              A TRUE BILL.




RUSSELL M. COLEMAN
UNITED STATES ATTORNEY

RMC:AEG:022718




                                                 3
    Case 3:18-cr-00024-JHM Document 1 Filed 03/21/18 Page 4 of 6 PageID #: 4




UN1TED STATES OF AMERICA v. BRYANT. LOCKE

                                                            PENALTIES

Counts 1-3 (each count): NM 20 yrs./$250,000/both/NM 3 yrs. Supervi sed Release
Forfe iture Notice


                                                                  OTI CE

ANY PERSON CONVICTED OF AN OFFENSE AGAI ST THE UNlTED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS, FINES, RESTITUTION & COSTS.


SPECIAL ASSESSME TS

18 U.S.C. § 3013 requires that a special assessment shall be imposed fo r each count of a convicti on of offenses committed after
November 11 , 1984, as follow s:

          Misdemeanor:             $ 25 per count/indi vidual               Felony:          $ 100 per count/individual
                                   $ 125 per count/other                                     $400 per count/other



In additi on to any of the above assessments, you may also be sentenced to pay a fine . Such fine is due immedi ately unl ess the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attorney's
Office with a current mailing address for the entire peri od that any part of the fin e remains unpaid, or you may be held in contempt of
court. 18 U. S.C. § 3571, 3572, 3611 , 36 12

Failure to pay fine as ordered may subject you to the following:

           1.   INTEREST and PENAL TIES as appl icable by law according to last date of offense.

                     For offen ses occurring after December 12, 1987:

                     No INTEREST will accrue on fines under $2,500.00.

                     INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                     the time of sentencing. Thi s rate changes monthl y. Interest accrues from the first business day
                     fo llowing the two week period after the date a fine is imposed.

                     PE AL TIES of:

                     10% of fine balance if payment more than 30 days late.

                     15% of fine balance if payment more than 90 days late.

          2.         Recordation of a LIE    shall have the same fo rce and effect as a tax lien.

          3.         Co ntinuous GARNISHMENT may apply until your fine is paid.

          18 U.S.C. §§ 36 12, 361 3

                     If you WILLFULLY refu se to pay your fine , you shall be subj ect to an ADDITIONAL FINE
                     of not more than the greater of $ 10,000 or twice the unpaid balance of the fine; or
                     IMPRISONMENT fo r not more than 1 year or both. 18 U.S.C. § 36 15
    Case 3:18-cr-00024-JHM Document 1 Filed 03/21/18 Page 5 of 6 PageID #: 5




RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
restitution to any victim of the offense, in addition to, or in lieu of any other penalty authori zed by law. 18 U.S.C. § 3663

APPEAL

If you appeal your convicti on and the sentence to pay your fi ne is stayed pending appeal, the court shall require:

           1.        That you deposit the entire fine amount (or the amount due under an install ment schedule
                     during the time of your appeal) in an escrow account with the U.S. District Court Clerk, or

          2.         Give bond for payment thereof.

           18 U.S.C. § 3572(g)

PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. Di strict Court and delivered to the appropriate divi sion office listed below:

                     LOUISVILLE:                      Clerk, U.S. District Court
                                                      106 Gene Snyder U.S. Courthouse
                                                      60 1 West Broadway
                                                      Louisville, KY 40202
                                                      502/625-3500

                     BOWLING GREE                     Clerk, U.S. District Court
                                                      120 Federal Bui lding
                                                      24 1 East Main Street
                                                      Bowling Green, KY 42101
                                                      270/393-2500

                     OWENSBORO:                       Clerk, U.S. Di stri ct Court
                                                      126 Federal Building
                                                      423 Frederica
                                                      Owensboro, KY 4230 1
                                                      270/689-4400

                     PADUCAH:                         Clerk, U.S. District Court
                                                      127 Federal Building
                                                      501 Broadway
                                                      Paducah, KY 4200 1
                                                      270/415-6400

If the court finds that you have the present abi lity to pay, an order may direct imprisonment until payment is made.
Case 3:18-cr-00024-JHM Document 1 Filed 03/21/18 Page 6 of 6 PageID #: 6
            FORM DBD-34
            JUN.85


             No.


               UNITED STATES DISTRICT COURT
                            Western District of Kentucky
                                     Louisville



                THE UNITED STATES OF AMERICA
                              vs.

                               BRYANT. LOCKE



                                    INDICTMENT

                                 Counts 1-3 - Wire Fraud:
                                       18   u.s.c §1343
                                            Forfeiture


            A true bill.



                                                                Forep erson


            Filed in open court this 21 51 day ofMarch, 2018.

                           V~~IJiPCLEF
                                 MAR 2 1 201tj                  Clerk

                            U.S. DIS IRJC I COOR I
            Bail, $        WEM'N. DIST: KENTUCKY
